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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Morningware, Inc.                                     )
                                                      )
Plaintiff,                                            )
                                                      )
v.                                                    )
                                                      )
Hearthware Home Products, Inc.                        )   Case No. 09-4348
                                                      )
Defendant.                                            )   Judge: Amy J. St. Eve
----------------------------------------------------- )
                                                      )
IBC-Hearthware, Inc.                                  )
d/b/a Hearthware Home                                 )
Products, Inc.                                        )
                                                      )
Plaintiff,                                            )   Consolidated
                                                      )
                                                      )
Morningware, Inc.                                     )
                                                      )
Defendant.                                            )

            MOTION TO EXCLUDE VANDERHART REBUTTAL REPORT
         AND DOCUMENTS PRODUCED AFTER THE CLOSE OF DISCOVERY

         Plaintiff/Counterdefendant Morningware Electronics, Inc. (Morningware) hereby moves

the Court for an Order striking and excluding from evidence the purported Rebuttal Report of

Jennifer Vanderhart, Ph.D (Exhibit A). The Rebuttal Report, offered by

Defendant/Counterplaintiff Hearthware Home Products, Inc. (Hearthware), improperly attempts

to supplement her earlier Report (Exhibit B) to include opinions on damage issues pertaining to

Morningware’s Lanham Act and related claims. As shown below, Dr. Vanderhart’s initial

Report offered no opinions on Morningware’s damage claims, and as Dr. Vanderhart herself

acknowledged, Morningware submitted no expert report on its damages for her to rebut. Thus,
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Dr. Vanderhart’s “Rebuttal” Report is merely an improper attempt to supplement her initial

Report, and she should be precluded from testifying with respect to any opinions offered therein.

       Additionally, Hearthware submitted Dr. Vanderhart’s Rebuttal Report in opposition to

Morningware’s Motion For Summary Judgment On Counts I Through V Of Its First Amended

Complaint (Dkt. No. 295). The Rebuttal Report should be stricken, and the Court should not

consider it in connection with Morningware’s Summary Judgment Motion.

       Furthermore, Dr. Vanderhart relied only on documents created and produced after

discovery closed to formulate the opinions in her Rebuttal Report. All of the documents

produced by Hearthware after the close of discovery upon which Dr. Vanderhart relied should be

stricken, as well as any of her opinions based thereon.

THE VANDERHART “REBUTTAL” REPORT IS NOT
A REBUTTAL REPORT AND SHOULD BE EXCLUDED

       "The proper function of rebuttal evidence is to contradict, impeach or defuse the impact

of the evidence offered by an adverse party." United States v. Grintjes, 237 F.3d 876, 879 (7th

Cir. 2001) (internal quotation marks and citation omitted). "Testimony offered only as additional

support to an argument made in a case in chief, if not offered 'to contradict, impeach or defuse

the impact of the evidence offered by an adverse party,' is improper on rebuttal. Peals v. Terre

Haute Police Dep't, 535 F.3d 621, 630 (7th Cir. 2008). Under Rule 26(a)(2)(D)(ii), a rebuttal

expert may be disclosed after the disclosure of the other party’s expert witnesses as long as the

rebuttal expert "is intended solely to contradict or rebut evidence on the same subject matter

identified by another party."




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       The Vanderhart Rebuttal Report was served on April 26, 2012. 1 Dr. Vanderhart indicates

that her Rebuttal Report is “to offer an expert opinion regarding unjust enrichment damages

arising from the use of certain ad words related to trademarks belonging to Morningware, Inc.”

Dr. Vanderhart purports to calculate Hearthware’s profits resulting from its use of

Morningware’s trademarks as adwords. However, as Dr. Vanderhart explicitly acknowledged,

Morningware did not serve any damages expert report for her to rebut:

       I understand that there was not a formal expert report on damages offered by
       Morningware with regards to its allegations against Hearthware. Morningware has
       submitted a memorandum dated March 14, 2012 from Jon Tepp to Edward L.
       Bishop, the subject of which is “Hearthware NuWave Oven Revenues.”

(Vanderhart Rebuttal Report at ¶2). Dr. Vanderhart also recognized during her deposition that

Mr. Tepp’s memo was not an expert report contemplated under the Federal Rules. (Vanderhart

5/8/12 Dep. at 102, line 22 to 103, line 20, excerpts attached as Exhibit C). Mr. Tepp’s memo,

attached as Exhibit D, is merely a memo to Morningware’s counsel tallying revenues, and

produced to Hearthware as part of a supplemental document production. The Vanderhart

“Rebuttal” Report is not in rebuttal to any Report submitted by Morningware because

Morningware submitted none. The Report, therefore, cannot be “intended solely to contradict or



1
  By the Court’s February 27, 2012 Order (Dkt. No. 275), the parties were to exchange initial
expert reports on March 15, 2012. Morningware produced its initial reports and the Tepp Memo
(Exhibit D) to Hearthware on that date. Although due March 15, 2012, Hearthware did not serve
Dr. Vanderhart’s initial Report until the wee hours of March 16, 2012. A strong inference can be
made that Dr. Vanderhart’s Report was delayed once realizing, after seeing Mr. Tepp’s memo,
that her Report initially failed to include any opinions regarding its own Lanham Act claims, let
alone Morningware’s. Dr. Vanderhart’s Report states in ¶ 1 that she was engaged to “offer an
expert opinion regarding damages arising from the alleged infringement of Patent No. 6,201,217,
Countertop Electric Cooker (the ‘217 Patent), by Morningware, Inc.” It says nothing about
offering any opinion on either Hearthware’s or Morningware’s Lanham Act claims. Moreover,
Dr. Vanderhart’s initial report only contains a single paragraph VII entitled “Damages Analysis
for Lanham Act Claims” in which the only opinion given is that Morningware’s sales of its oven
through April 2010 is $898,177 and is relevant to Hearthware’s own Lanham Act claim for
Morningware’s profits.


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rebut evidence on the same subject matter identified by another party” as Fed. R. Civ. P. 26

requires.

       Hearthware knew that Morningware asserted damages and sought profits on its Lanham

Act claims when Hearthware initially identified Dr. Vanderhart as their damages expert, and

submitted her initial Report on March 15, 2012. Yet, Dr. Vanderhart’s initial Report contained

no opinion regarding Morningware’s Lanham Act claims. Hearthware cannot possibly claim

that it was surprised that Morningware could seek Hearthware’s profits from sales of its oven

with respect to Morningware’s Lanham Act claims. As Dr. Vanderhart stated in her initial

Report, “I understand that monetary relief under the Lanham Act allows for the Plaintiff to be

awarded, among other possibilities, an amount equal to the defendant’s profits. I also

understand that the plaintiff has the burden to show the defendant’s infringing sales, and then the

burden shifts to the defendant to show costs and to apportion the sales.” Thus, Hearthware and

Dr. Vanderhart had to know that its profits were an issue when Hearthware submitted her initial

Report on March 15, 2012. Dr. Vanderhart’s Rebuttal Report is not a rebuttal report at all, but

merely an attempt to supplement her earlier Report with opinions that could have and should

have been presented in her earlier Report. As such, the Rebuttal Report should be stricken from

evidence, Dr. Vanderhart should be precluded from testifying with respect to any opinions

offered therein, and the Court should not consider it in connection with Morningware’s summary

judgment motion.

       In Sports Arena Mgmt., Inc. v. K&K Insurance Group, Inc., No. 06 C 6290, 2008 WL

4877452 at *2 (N.D. Ill. June 26, 2008) (Exhibit E), the court barred the testimony of an expert

purportedly offered to rebut. The court reasoned that because the party offering the expert

testimony knew the defendant would attack proximate cause by arguing the requested coverage




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was unavailable, the expert was not a rebuttal expert. Id. Thus, “regardless of what plaintiffs call

him, [the expert] is not a rebuttal expert.” Id. The court struck and barred the purported rebuttal

testimony. The Court should likewise strike and exclude Dr. Vanderhart’s Rebuttal Report, and

preclude her from testifying with respect thereto.

DR. VANDERHART’S REBUTTAL REPORT RELIES
ON DOCUMENTS AND FACTS NOT PRODUCED
DURING DISCOVERY, AND THE DOCUMENTS, REPORT,
AND THE OPINIONS BASED THEREON SHOULD BE EXCLUDED

       During discovery, and thereafter as stipulated by the parties, Morningware repeatedly

asked for Hearthware’s sales and revenue information. This is exemplified in a February 9, 2012

email from Morningware’s counsel to Hearthware’s counsel (Exhibit F) in which Morningware’s

counsel requested the following information:

       In reviewing Hearthware’s production, we have a few questions. Namely:
       1) What products are associated with the quantities/revenues shown in IBC-
       H021560 and IBC-H021550?
       2)    IBC-H000623-717 appear to be only for retail sales. Does Hearthware have
       corresponding Internet/Infomercial data? Also, are the 2008/09 revenue numbers
       only for the Nu Wave Oven? And can be get some breakdown of units for other
       products on IBC-H000631?
       3) For IBC-H000719, is this data for all Nu Wave Oven sales? Infomercial
       only? We ask because this data does not correspond to the retail data provided in
       IBC-H000623-717.
       4) For IBC-H003018-442, can we get this data in Excel? Also, can we get the
       “Num” or “Item” for the Nu Wave Ovens?
       Please let me know when we can expect an answer to the above questions.

Despite repeated requests, Hearthware would not produce this information even though it was

obligated to do so.

       Attached as Exhibit G is a spreadsheet of all documents created and produced by

Hearthware well after fact discovery closed. These include documents upon which Dr.

Vanderhart and Hearthware’s other experts relied, but yet Morningware was deprived of seeing

until after the release of Hearthware’s expert reports, and only when Morningware again



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requested production of the documents. The documents are exemplified in Exhibit 5 to Dr.

Vanderhart’s deposition (Exhibit H hereto), and in the April 26, 2012 email from Kristina Kim,

forwarded to Dr. Vanderhart (Exhibit I hereto), and referenced in Exhibit B to the Rebuttal

Report. Moreover, Dr. Vanderhart testified that she relied on Hearthware’s employees for the

accuracy of the information provided in the documents, and assumed it was correct. (Vanderhart

5/8/12 Dep. at 114, line 3 to 120, line 12; at 127, line 15 to 130, line 11, Exhibit C hereto).

       Because the sales figures were available to Hearthware, but not produced until Dr.

Vanderhart needed them after discovery closed, Morningware was not able during discovery to

ascertain how Dr. Vanderhart or Hearthware came up with these figures, their accuracy, or to

have an expert of its own choosing review and express an opinion using this information. The

same is true of the other documents not produced during discovery. An expert cannot be a mere

mouthpiece for Defendant, spouting information the client wants to get in that was not, but

should have been, produced during discovery. See, Loeffel Steel Prods., Inc. v. Delta Brands,

Inc., 387 F. Supp. 2d 794, 808-10 (N.D. Ill. 2005) (expert opinion stricken where expert would

be acting as mouthpiece for employees). The documents Hearthware created and produced after

discovery should be stricken, and Hearthware and its experts should be precluded from relying

on or testifying with respect to such documents.

CONCLUSION

       For the foregoing reasons, Morningware requests the Court strike Dr. Vanderhart’s

Rebuttal Report and preclude her from testifying with respect thereto. The Court should also not

consider Dr. Vanderhart’s Rebuttal Report in connection with Morningware’s summary

judgment motion. Additionally, Morningware requests the Court exclude documents created and




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produced after discovery closed, and preclude Hearthware and Dr. Vanderhart from offering or

testifying with respect to any opinions based thereon.

DATED: June 13, 2012                 Submitted by,

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                                     Morningware, Inc.



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system June 13, 2012. Any other counsel of record will be served by electronic mail
and/or first class mail.

                     _______________/s/Nicholas S. Lee_______________




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